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		OSCN Found Document:RE REVOCATION OF CERTIFICATES OF CERTIFIED SHORTHAND REPORTERS

					

				
  



				
					
					
						
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				RE REVOCATION OF CERTIFICATES OF CERTIFIED SHORTHAND REPORTERS2022 OK 44Decided: 05/02/2022THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2022 OK 44, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR OFFICIAL PUBLICATION. 

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RE: Revocation of Certificates of Certified Shorthand Reporters



ORDER



This Court previously suspended the certificates of several certified shorthand reporters for failure to comply with the continuing education requirements for calendar year 2021 and/or with the annual certificate renewal requirements for 2022. See 2022 OK 21 (SCAD 2022-11, dated March 7, 2022).

Under the applicable rules, a suspended certificate which has not been reinstated on or before April 15 shall be administratively revoked on that date. 20 O.S., Chapter 20, App. I, Rules 20(e) and 23(f). The Oklahoma Board of Examiners of Certified Shorthand Reporters has advised that the court reporters listed below have not reinstated their credential as required by the rules, and the Board has recommended to this Court the revocation of the certificate of each of these reporters.

The Court hereby approves the Board's recommendation of revocation of each of the certified shorthand reporters named below, and pursuant to the applicable rules such revocation shall be effective May 2, 2022.

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			Ronda Case
			Connie Neer
			Mark Woods
			
			
			CSR #1747
			CSR #1737
			CSR #1322
			
		
	



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DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 2nd day of MAY, 2022.


/S/CHIEF JUSTICE


ALL JUSTICES CONCUR.






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&nbsp;2022 OK 21, RE SUSPENSION OF CERTIFICATES OF CERTIFIED SHORTHAND REPORTERSCited


	
	








				
					
					
				

		
		




	
		
			
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